
397 So.2d 1041 (1981)
Jesse Lamar HALL, Appellant,
v.
STATE of Florida, Appellee.
No. 80-1069.
District Court of Appeal of Florida, Fifth District.
May 13, 1981.
James B. Gibson, Public Defender, and Michael S. Becker, Asst. Public Defender, Daytona Beach, for appellant.
Jim Smith, Atty. Gen., Tallahassee, and Evelyn D. Golden, Asst. Atty. Gen., Daytona Beach, for appellee.
COWART, Judge.
The Public Defender has filed an Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), motion and brief representing to this court that no reversible error appears and requesting leave to withdraw as counsel for appellant. This court gave appellant thirty days within which to file a brief in his own behalf. None was filed. We have reviewed counsel's brief and examined the record and find the appeal is without merit. Appellant entered a negotiated plea of nolo contendere with no reservation of any right of appeal; then, without any effort to withdraw his plea, he promptly filed this appeal. He cannot appeal under these circumstances. Section 924.06(3), Florida Statutes (1979); Fla.R.App.P. 9.140(b); Robinson v. State, 373 So.2d 898 (Fla. 1979); Cassiani v. State, 384 So.2d 47 (Fla. 1st DCA 1980); Counts v. State, 376 So.2d 59 (Fla.2d DCA 1979).
The Public Defender's motion to withdraw is granted and the appeal is DISMISSED.
COBB and FRANK D. UPCHURCH, Jr., JJ., concur.
